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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                              MDL NO. 2492
                                                              Case No. 13-cv-09116
IN RE: NATIONAL COLLEGIATE
ATHLETIC ASSOCIATION STUDENT-
                                                              Judge John Z. Lee
ATHLETE CONCUSSION LITIGATION
                                                              Magistrate Judge Brown


                 APPLICATION AND DECLARATION OF MARK ZAMORA
                   FOR APPOINTMENT TO EXECUTIVE COMMITTEE

       I.        INTRODUCTION

       1.        I am the son of two immigrants who fled Castro’s Cuba in the early 1960s. I am

the first person in my family to graduate from college in the United States, and I fluently read

and speak Spanish. My firm represents more than forty plaintiffs in the Caldwell matter. I am a

trial attorney and a partner in my law firm, and am licensed to practice in Florida and Georgia.

My main office is located in Atlanta, Georgia.

       2.        I have direct and recent relevant experience in complex litigation. Since 2009, I

have served on the Plaintiffs’ Steering Committee in the MDL known as In Re Hydroxycut

Marketing and Sales Practices Litigation, (3:09-md-02087-BTM-KSC), and I am chair of the

litigation’s Discovery Committee. I have led all aspects of discovery involving fourteen

defendants in that case. The matter is now in the final stages of settlement.

            3.   I served as lead counsel in Georgia State Court in a consolidated action known as

Gurley adv. Total Body Essential Nutrition, Inc. From 2008 until 2013, my firm and I oversaw

and directed all discovery, served as lead examiners in more than sixty depositions, litigated the

one case to a significant jury verdict, and negotiated a group settlement thereafter.
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       4.      I have served as counsel on the Plaintiffs’ Steering Committee in the In Re: New

England Compounding Pharmacy Litigation, pending in United States District Court in Boston,

Massachusetts.

       5.      I and members of my firm have also taken active roles in other complex litigation

matters. We have served as class counsel in several matters, including: In Re: Chemtura

Corporation (Bio-Lab), et. al. (Plaintiff’s Management Committee & Liaison Counsel) and

Beulieu v. EQ Industrial Services (Steering Committee).

       II. CRITERIA FOR APPOINTMENT

       (1)     Willingness and ability to commit to serve.

       a.      The firm is committed to this matter and is fully staffed to take on the labor and

financial needs that would support my involvement.

       (2)     Ability to work cooperatively with others.

       a.      As has been the case over the last several months in this litigation, I have

worked cooperatively with lead Plaintiffs’ counsel.

       (3) Access to sufficient resources to advance the litigation in a timely manner.

       a.      With our resources, we have more than six lawyers and thirty staffers ready able

to proceed on this important matter.

       RESPECTFULLY SUBMITTED this 9th day of May, 2014

                                              /s O. Mark Zamora
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